~AO 245B       (Rev. 12/03) Judgment in a Criminal Case
   NCED        Sheet I



                                          UNITED STATES DISTRICT COURT
                          Eastern                                      District of                               North Carolina
          UNITED STATES OF AMERICA                                              JUDGMENT IN A CRIMINAL CASE
                               v.
       DONALD JUNIOR COPPEDGE                                                   Case Number: 4:09-CR-54-2F

                                                                                USM Number:51756-056

                                                                                Robert Lonnie Cooper
                                                                                Defendant's Attorney
THE DEFENDANT:
o pleaded guilty to count(s)
D pleaded nolo contendere to count(s)
   which was accepted by the court.
1tI was found guilty on count(s) ---...;.....---...;.....--------------------------­
                                 2 and 5 (Indictment)
    after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                                   Nature of Offense                                                   Offense Ended
21 U.S.C. § 841 (a)(1)                             Distribution of a Quantity of Cocaine Base (Crack)                   6/3/2009        2

21 U.S.C. § 841(a)(1)                              Possession With Intent to Distribute a Quantity of Cocaine           6/3/2009        5




       The defendant is sentenced as provided in pages 2 through                _ _8_ _ of th is judgment. The sentence is imposed pursuant to
the Sentencing Refoon Act of 1984.
1tI The defendant has been found not guilty on count(s)               1 and 3 (Indictment)

D Count(s)                                                              D are dismissed on the motion of the United States.
              ------------- Dis
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. Ifordered to pay restitution,
the defenaant must notify the court and United States attorney of material changes in economIc circumstances.

 Sentencing Location:                                                           7/8/2010
   Wilmington, NC                                                               Date of Imposition of Judgment


                                                                                       ~e~
                                                                                s~re of Judge




                                                                                 JAMES C. FOX, SENIOR U.S. DISTRICT JUDGE
                                                                                Name and Title of Judge


                                                                                7/8/2010
                                                                                Date




                     Case 4:09-cr-00054-BO                       Document 132                Filed 07/08/10          Page 1 of 8
AO 245B       (Rev. 12/03) Judgment in Criminal Case
   NeED       Sheet 2 -- Imprisonment

                                                                                                            Judgment -   Page     2       of         8
DEFENDANT: DONALD JUNIOR COPPEDGE
CASE NUMBER: 4:09-CR-54-2F


                                                               IMPRISONMENT

        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:

 Count 2 ·240 Months
 Count 5 ·240 Months to be served concurrently with Count 2


    tS The court makes the following recommendations to the Bureau of Prisons:
 That the Bureau of Prisons closely monitor the deft's compliance with the child support orders in Greene County,
 Docket No. 96CVD000272 and 96CVD000264.



    i1 The defendant is remanded to the custody of the United States Marshal.
    o The defendant shall surrender to the United States Marshal for this district:
      o at --------- D a.m. o p.m. on
      o as notified by the United States Marshal.
    o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          01] before         p.m. on

          01] as notified by the United States Marshal.              Or

          o     as notified by the Probation or Pretrial Services Office.



                                                                     RETURN
I have executed this judgment as follows:




          Defendant delivered on                                                            to

a:....-                                                , with a certified copy of this judgment.



                                                                                                        UNITED STATES MARSHAL



                                                                             By                    ~,."..,..."~,..,,...,.,,=,-,-.-=~....,..,..._=,.....,....-----
                                                                                                   DEPUTY UNITED STATES MARSHAL




                      Case 4:09-cr-00054-BO                   Document 132             Filed 07/08/10               Page 2 of 8
A0245B   (Rev. 12/03) Judgment in a Criminal Case
  NeED   Sheet 2A - Imprisonment
                                                                                       Judgment-Page    3    of      8
DEFENDANT: DONALD JUNIOR COPPEDGE
CASE NUMBER: 4:09-CR-54-2F

                                         ADDITIONAL IMPRISONMENT TERMS
 The court recommends incarceration at FCI Butner, participation in the most Intensive Drug Treatment Program available,
 and participation in the Vocational Program while incarcerated.




                Case 4:09-cr-00054-BO               Document 132      Filed 07/08/10        Page 3 of 8
AO 245B      (Rev. 12/03) Judgment in a Criminal Case
      NeED   Sheet 3 - Supervised Release
                                                                                                         Judgment-Page   ---A.- of           8
DEFENDANT: DONALD JUNIOR COPPEDGE
CASE NUMBER: 4:09-CR-54-2F
                                                        SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of :
 Count 2 ·6 Years and Count 5 - 6 Years, all such terms to run concurrently
     The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau ofPnsons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment ana at least two periodic drug tests
thereafter, as determined by the court.
        The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of future
O       substance abuse.
V1'     The defendant shall not possess a firearm, destructive device, or any other dangerous weapon. (Check, if applicable.)

~       The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, ifapplicable.)

o       The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
        student, as directed by the probation officer. (Check, if applicable.)

o    The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
     If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sneet of this judgment.
     The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.
                                              STANDARD CONDITIONS OF SUPERVISION
 I.     The defendant shall not leave the judicial district or other specified geographic area without the permission of the court or probation
        officer.
 2.     The defendant shall report to the probation officer as directed by the court or probation officer and shall submit a truthful and
        complete written report within the first five (5) days of each month.
 3.     The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer.
 4.     The defendant shall support the defendant's dependents and meet other family responsibilities.
 5.     The defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training, or other
        acceptable reasons.
 6.     The defendant shall notify the probation officer at least then (10) days prior to any change of residence or employment.
 7.     The defendant shall refrain from excessive use of alcohol and shall not purchase, possessbuse distribute, or administer any controlled
        substance, or any paraphernalia related to any controlled substance, except as prescribed y a physician.
 8.     The defendant shall not frequent places where controlled substances are illegally sold, used distributed, or administered, or other
        places specified by the court.
 9.      The defendant shall not associate with any IJersons engaged in criminal activity, and shall not associate with any person convicted of
         a felony unless granted permission to do so by the probation officer.
 \O.    The defendant shall permit a probation officer to visit the defendant at any time at home or elsewhere and shall permit confiscation of
        any contraband observed in plain view by the probation officer.
 11.     The defendant shall notify the probation officer within seventy-two (72) hours of being arrested or questioned by a law enforcement
         officer.
 12.     The def~ndant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
         permIssIon of the court.
 13.     As directed by the probation officer, the defendant shall notify third parties ofrisks that may be occasioned by the defendant's
         criminal record or personal history or characteristics, and shan permIt the probation officer to make such notillcations and to confirm
         the defendant's compliance with such notification requirement.




                      Case 4:09-cr-00054-BO                 Document 132             Filed 07/08/10           Page 4 of 8
A0245B    (Rev. 12/03) Judgment in a Criminal Case
  NeED    Sheet 3A - Supervised Release


DEFENDANT: DONALD JUNIOR COPPEDGE
CASE NUMBER: 4:09-CR-54-2F

                                    ADDITIONAL SUPERVISED RELEASE TERMS
 The defendant shall provide the probation office with access to any requested financial information.

 The defendant shall not incur new credit charges or open additional lines of credit without the approval of the probation
 office.

 The defendant shall consent to a warrantless search by a United States probation officer or, at the request of the probation
 officer, any other law enforcement officer, of the defendant's person and premises, including any vehicle, to determine
 compliance with the conditions of this judgment.

 The defendant shall participate in a vocational training program as directed by the probation office.

 The defendant shall cooperate in the collection of DNA as directed by the probation officer.

 The defendant shall participate as directed in a program approved by the probation office for the treatment of narcotic
 addiction, drug dependency, or alcohol dependency which will include urinalysis testing or other drug detection measures
 and may require residence or participation in a residential treatment facility.

 The defendant shall submit to a urinalysis test within fifteen days of release from imprisonment, and at least two periodic
 urinalysis tests thereafter, as directed by the probation officer pursuant to 18 U.S.C. § 3608.




                 Case 4:09-cr-00054-BO               Document 132         Filed 07/08/10         Page 5 of 8
AO 245B    (Rev. '2/03) Judgment in a Criminal Case
  NeED     Sheet 5 - Criminal Monetary Penalties
                                                                                                   Judgment -   Page     6      of       8
DEFENDANT: DONALD JUNIOR COPPEDGE
CASE NUMBER: 4:09-CR-54-2F
                                               CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                     Assessment                                                                            Restitution
TOTALS             $ 200.00                                       $                                    $



D    The determination of restitution is deferred until
     after such determination.
                                                          ---. An Amended Judgment in a Criminal Case (AO 245C) will be entered
o The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
     the priority or.der or perc.entage payment column below. However, pursuant to 18 U.S.C. § 3664(1), all nonfederal victims must be paid
     before the Umted States IS paId.

 Name of Payee                                                        Total Loss·          Restitution Ordered         Priority or Percentage




                                  TOTA=L=S                    _                   $0.00                      $0.00


 DO Restitution amount ordered pursuant to plea agreement $
 DO The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.c. § 3612(f). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.c. § 3612(g).

 D    The court determined that the defendant does not have the ability to pay interest and it is ordered that:

      o the interest requirement is waived for the D fine D restitution.
      o the interest requirement for the 0 fine 0 restitution is modified as follows:

 'I< Findings for the total amount oflosses are required under Chapters 109A, 110, II OA, and 113A of Title 18 for offenses committed on or after
 September 13, 1994, but before April 23, 1996.



                    Case 4:09-cr-00054-BO                   Document 132            Filed 07/08/10              Page 6 of 8
AO 2458     (Rev. 12/03) Judgment in a Criminal Case
     NeED   Sheet 6 - Schedule of Payments

                                                                                                         Judgment -   Page   ---.:L..- of     8
DEFENDANT: DONALD JUNIOR COPPEDGE
CASE NUMBER: 4:09-CR-54-2F

                                                           SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

A       0   Lump sum payment of $                                due immediately, balance due

            o     not later than                                     , or
            o     in accordance           o C,         0    D,   o     E, or     0 F below; or
B       0   Payment to begin immediately (may be combined with                 0 C,     0 D, or   0 F below); or
C       0   Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                         (e.g., months or years), to commence                 (e.g., 30 or 60 days) after the date of this judgment; or

D       0   Payment in equal                     (e.g., weekly, monthly, quarterly) installments of $                     over a period of
                          (e.g., months or years), to commence                 (e.g., 30 or 60 days) after release from imprisonment to a
            tenn of supervision; or

 E      0   Payment during the tenn of supervised release will commence within                 (e.g., 30 or 60 days) after release from
            imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F      ~ Special instructions regarding the payment of criminal monetary penalties:

             The special assessment imposed shall be due in full immediately.




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment ofcriminal monetary penalties is due during
imprisonment. All cnminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




 o      Joint and Several

        Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
        and corresponding payee, if appropriate.




 o      The defendant shall pay the cost of prosecution.

 o The defendant shall pay the following court cost(s):
 o The defendant shall forfeit the defendant's interest in the following property to the United States:


Payments shall be applied in the following order: (I) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.




                     Case 4:09-cr-00054-BO                       Document 132            Filed 07/08/10        Page 7 of 8
AO 245B    (Rev. \2/03) Judgment in a Criminal Case
  NeED     Shect 7 - Denial of Fcderal Benefits

                                                                                                     Judgment -   Page   8     of     8
DEFENDANT: DONALD JUNIOR COPPEDGE
CASE NUMBER: 4:09-CR-54-2F
                                                      DENIAL OF FEDERAL BENEFITS
                                        (For Offenses Committed On or After November 18, 1988)

FOR DRUG TRA FFICKERS PURSUAN T TO 21 U.S.c. § 862

     IT IS ORDERED that the defendant shall be:

o ineligible for all federal benefits for a period of
o ineligible for the following federal benefits for a period of
     (specify benefit(s))




                                                                     OR
Iilf Having detennined that this is the defendant's third or subsequent conviction for distribution of controlled substances, IT IS
     ORDERED that the defendant shall be pennanently ineligible for all federal benefits.

 FOR DRUG POSSESSORS PURSUANT TO 21 U.S.c. § 862(b)

     IT IS ORDERED that the defendant shall:

o be ineligible for all federal benefits for a period of
o be ineligible for the following federal benefits for a period of
     (specify benefit(s))




     o     successfully complete a drug testing and treatment program.

     o     perfonn community service, as specified in the probation and supervised release portion of this judgment.

     o    Having detennined that this is the defendant's second or subsequent conviction for possession of a controlled substance, IT
          IS FURTHER ORDERED that the defendant shall complete any drug treatment program and community service specified in this
          judgment as a requirement for the reinstatement of eligibility for federal benefits.



          Pursuant to 21 U.S.c. § 862(d), this denial of federal benefits does not include any retirement, welfare, Social Security, health,
disability, veterans benefit, public housing, or other similar benefit, or any other benefit for which payments or services are required
for eligibility. The clerk is responsible for sending a copy of this page and the first page of this judgment to:


                               U.S. Department of Justice, Office of Justice Programs, Washington, DC 20531




                    Case 4:09-cr-00054-BO                   Document 132          Filed 07/08/10           Page 8 of 8
